Case 8:19-bk-06187-CPM Doc7 Filed 07/12/19 Page 1 of 19

Fill inthis information to identify your case and this'filing:

 

 

 

| Debtor 4 Dominik Szargut |
’ First Name Middle Name Last Name
|
| Debtor 2 :
| (Spouse, if filing) ’ First Name Middie Name Last Name

|
United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 

cas number 8:19-bk-06187 Ml Check if this is an
| amended filing

 

Official Form 106A/B
Schedule A/B: Property 42/18

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

[ZaRh] Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

4. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CO] No. Go to Part 2.
IM yes. Where is the property?

 

 

 

 

 

 

 

 

 

14 What is the property? Check all that apply
1011-58th Ave.N. BI Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description ae args the amount of any secured claims on Schedule D:
Dupl Iti-
oO uplex or-enulll-ant bulging Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home
. Current value of the Current value of the
Saint Petersburg FL 33703-0000 OO Land entire property? portion you own?
City Slate ZIP Code C1 Investment property $150,000.00 $150,000.00
Ti h
C1 Timeshare Describe the nature of your ownership interest
[1 Other ___—s (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
HB Debtor 4 only Fee simple
Pinellas 0 Debtor 2 only
County
C1 Debtor 1 and Debtor 2 only Check If this is community property
C] Atleast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
Property to be surrendered
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for $150,000.00
pages you have attached for Part 1. Write that number Nere,...scseessseseseesnereeensteneemenennenesscerensesnseentiesenes a> : 1000.

ee) Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

Official Form 106A/B Schedule A/B: Property page 1

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Case 8:19-bk-06187-CPM Doc7 Filed 07/12/19 Page 2 of 19

Case number (ifknown) 8:19-bk-06187 _

Debtor1 Dominik Szargut |

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

No
Yes
3.1. Make: Mercedes Who has an interest In the property? Check one Do not deduct secured claims or exemptions. Put
Te ee the amount of any secured claims on Schedule D:
Model: E350 i Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2006 | CD Debtor 2 only Current value of the Current value of the
Approximate mileage: 125,000 CO Debtor 4 and Debtor 2 only entire property? portion you own?
Other information; CO At least one of the debtors and another
Debtor to surrender
CO] Check if this is community property $4,554.00 - $4,554.00
| (see instructions)
‘ Ford ; ' . Do not deduct secured claims or exemptions. Put
3.2. Make: ; Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: F-150 Bi pebtor 1 only Creditors Who Have Claims Secured by Property.
Yea: = 2005 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 100,000 C1 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: - C1 At least one of the debtors and another
Debtor to surrender
CO] Check if this is community property _ $4,590.00 $4,590.00

| | (see instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Hi No
0 Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, tneltetha any entries for
pages you have attached for Part 2. Write that number here... (Usa Rann $9,144.00

 

 

ees] Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? : Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

ONo
I Yes. Describe.....

 

| 2beds, 1 dresser, Sofa, chair, 2 cabinets, office desk and chair,
| misc kitchenware and dishes, TV, alarm clock, DVD player, Misc
DVDS, Computer, printer, misc books and pictures, misc linens,

garage tools, lawn mower, 2 dogs. $800.00

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games
No
C1 Yes. Describe...

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
Ml No
0 Yes. Describe...

Official Form 106A/B Schedule A/B: Property page 2

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Case 8:19-bk-06187-CPM Doc7 Filed 07/12/19 Page 3 of 19

Debter1 Dominik Szargut Case number (ifknown) 8:19-bk-06187

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments

i No
O Yes. Describe...
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No
1 Yes. Describe...

 

 

 

 

 

 

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
ONo
I Yes. Describe...
| Set of men's clothes and shoes $50.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
0 No
Ill Yes. Describe.....
| Watch — $80.00
13, Non-farm animals
Examples: Dogs, cats, birds, horses
Hl No
OO Yes. Describe...
14. Any other personal and household items you did not already list, including any health aids you did not list
i No
C1 Yes. Give specific information...
15. Add the dollar value of all of your entries from Part 3, Inelnaing any entries for pages you have attached $930.00

for Part 3. Write that number here .. sata ayatsuntaaucecseresen avevueusyuenaeoendenevensauensecra / _
|

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

BH No

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar

institutions. If you have multiple accounts with the same institution, list each.

 

CO No
DM VS .ccccccccccccccceccecee. Institution name:
17.1. TD Bank checking acct #5881 $0.00
Official Form 106A/B Schedule A/B: Property page 3

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Case 8:19-bk-06187-CPM Doc7 Filed 07/12/19 Page 4 of 19

Debtor1 Dominik Szargut Case number (ifknown) §:19-bk-06187 __

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
Ol Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture
HM No

O Yes. Give specific information about them...
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable insiruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Hi No

O Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples. Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

i No

0 Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

No
1. e Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

BI No
OD YeS.ececccccce Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Hi No
Ol yes Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
Hi No
C1 Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet damain names, websites, proceeds from royalties and licensing agreements
HNno
O Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No
Ol Yes. Give specific information about them...

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Money or property owed to you?

28, Tax refunds owed to you

i No
O Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

Official Form 106A/B Schedule A/B: Property page 4

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Case 8:19-bk-06187-CPM Doc? Filed 07/12/19 Page 5 of 19

Debtor1 Dominik Szargut Case number (ifknown) §:19-bk-06187

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settiement, property settlement

No

C1 Yes. Give specific information...

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security

benefits; unpaid loans you made to someone else
I No
C1 Yes. Give specific information..
31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

No

O Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because

someone has died.
BH No
O Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

B No
1 Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
Hi No
O Yes. Describe each claim.........

35. Any financial assets you did not already list
i No

0 Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that MUMber Here... .scccccssssesssssesseseessessseseceeseeeensceseesaeececesscecseeteceiaesteesescsesesssseeeeaseseaseneeeeteeee

exe Describe Any Business-Related Property You Own or Have an Interest In, List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
Bi No. Goto Part 6.
0 Yes. Go to line 38.

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list itin Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
LI No. Go to Part 7.
O Yes. Go to line 47.

[ERZAMIEE] Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

i No
CO Yes. Give specific information.........

 

Official Form 106A/B Schedule A/B: Property page 5

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Debtor! Dominik Szargut. BS Case number (ifknown) §:19-bk-06187

54, Add the dollar value of all of your entries from Part 7. Write that number here w...cceeeeesceeeeeees $0.00

List the Totals of Each Part of this Form

55. Part 1: Total real estate, iMG 2 ..isssscssssisscesiscresissstecsnsorssssesseeesdessnsesaaaees

i rniceraeawanaiianacitE $150,000.00
56. Part 2: Total vehicles, line 5 _ $9,144.00

 

57. Part 3: Total personal and household items, line 15 $930.00

58. Part 4; Total financial assets, line 36 — $0.00

59. Part 5: Total business-related property, line 45 ; $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00.

62. Total personal property. Add lines 56 through 61... $10,074.00 Copy personal property total ; $10,074.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $160,074.00 |
Official Form 106A/B Schedule A/B: Property page 6

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Case 8:19-bk-06187-CPM Doc7 Filed 07/12/19 Page 7 of 19

Fillinithis information to identify your case:
|

 

 

Debtor 4 Dominik Szargut a
First Name - Middle Name Last Name
Debtor 2 /
(Spouse if, filing) First Name - Middle Name Last Name

 

United States Bankruptcy Court forthe: © MIDDLE DISTRICT OF FLORIDA

Casenumber 8:19-bk-06187
{if known) Check if this is an
| amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and

case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited

to the applicable statutory amount.
[GERM Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
Wl You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property Portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B
2beds, 1 dresser, Sofa, chair, 2 $800.00 fl $800.00 Fla. Const. art. X, § A(a)(2)
cabinets, office desk and chair, misc ——#— SE
kitchenware and dishes, TV, alarm FC 400% of fair market value, up to
clock, DVD player, Misc DVDS, any applicable statutory limit

Computer, printer, misc books and
pictures, misc linens, garage tools,
lawn mower, 2 dogs.

Line from Schedule A/B: 6.1

 

Set of men's clothes and shoes $50.00 $50.00 Fila. Const. art. X, § 4(a)(2)

Line from Schedule A/B: 11.1
C1 400% of fair market value, up to
any applicable statutory limit

Watch $80.00 fl $80.00 ‘Fla. Const. art. X, § 4(a)(2)
Line from Schedule A/B: 12.1

 

 

O 400% of fair market value, up to
any applicable statutory limit

 

TD Bank checking acct #5881 $0.00 $0.00 Fla. Const. art. X, § 4(a)(2)
Line from Schedule A/B: 17.1 —_T_——. oe
ON 400% of fair market value, up to

any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

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Case 8:19-bk-06187-CPM Doc7 Filed 07/12/19 Page 8 of 19

Debtor1 Dominik Szargut Case number (if known) 8:19-bk-06187

 

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

@ No
Ol Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

O No
Ol Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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Case 8:19-bk-06187-CPM Doc? Filed 07/12/19

Fillin this information tojidentify your case:

Page 9 of 19

 

Debtor 1 Dominik Szargut _
First Name Midd'e Name Last Name

Debtor 2 _ ee

(Spouse if, filing) First Name Middle Name Last Name

| United States Bankruptcy Court for the: © MIDDLE DISTRICT OF FLORIDA

 

Case number
| (if known)

Official Form 106D

8:19-bk-06187

Schedule D: Creditors Who Have Claims Secured by Property

Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill It out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

I Yes. Fill in all of the information below.

[EEA List All Secured Claims —

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As
much as possible, list the claims in alphabetical order according to the creditor's name.

Column A

Amount of claim
Do not deduct the

2.1 | Central Auto Brokers

Creditor's Name

4065 54th Ave N
Saint Petersburg, FL
33714

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

a Debtor 1 only

CO] Debtor 2 only

1 Debtor 4 and Debtor 2 only

C1 At least one of the debtors and another

0 Check if this claim relates toa
community debt

Date debt wasincurred 03/28/2017

|2.2 | Central Auto Brokers

Creditors Name

4065 54th Ave N
Saint Petersburg, FL
33714

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

I pebtor 4 only

0 Debtor 2 only

OC Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C1 Check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

value of collateral.

$6,000.00

Describe the property that secures the claim:

Column B

Value of collateral
that supports this

claim
$4,554.00

 

 

| 2006 Mercedes E350 125,000 miles
Debtor to surrender

“As of the date you file, the claim is: Check all that
apply.
Oo Contingent
0 Unliquidated
CZ Disputed
Nature of lien. Check all that apply.

Ban agreement you made (such as mortgage or secured
car loan)

0 Statutory lien (such as tax lien, mechanic's lien)

1 Judgment lien from a lawsuit

C1 other (including a right to offset)

 

4620

Last 4 digits of account number

 

$7,905.00

Describe the property that secures the claim:

$4,590.00

 

| 2005 Ford F-150 100,000 miles
Debtor to surrender

“As of the date you file, the claim is: Check all that
apply.
O Contingent
1 Untiquidated
O Disputed
Nature of lien. Check all that apply.

a An agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

oO Judgment lien from a lawsuit

0 other (including a right to offset)

 

Last 4 digits of account number

 

Schedule D: Creditors Who Have Claims Secured by Property

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Column C

Unsecured

portion

If any
$1,446.00

$3,315.00

page 1 of 2

Best Case Bankruptcy

 
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Debtor1 Dominik Szargut

Case number (if known) 8:19-bk-06187

First Name Middle Name Last Name

|2.3 | Mr. Cooper

Describe the property that secures the claim:

 

 

Creditors Name

Attn: Bankruptcy
8950 Cypress Waters
Blvd

Coppell, TX 75019

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

Bi pebtor 1 only

O1 Debtor 2 only

D1 Debtor 4 and Debtor 2 only

CZ At least one of the debtors and another

O Check if this claim relates toa
community debt

Opened
03/05 Last
Active

Date debt wasincurred 1/30/17 __

1011-58th Ave.N. Saint Petersburg, | |
FL 33703 Pinellas County
Property to be surrendered

 

As of the date you file, the claim Is: Check all that
apply.

O Contingent

C1 unliquidated

O Disputed

Nature of lien. Check all that apply.

Olan agreement you made (such as mortgage or secured
car loan)

C1 Statutory lien (such as tax lien, mechanic's lien)
O Judgment lien from a lawsuit
C1 other (including a right to offset)

 

$120,416.00. $150,000.00 $0.00

 

 

 

Last 4 digits of account number 5809

 

Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

[GEtGeEE] List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 4, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

U

Choice Legal Group PA
P.O. Box 9908

Fort Lauderdale, FL 33310

$134,321.00
| $434,321.00

 

Name, Number, Street, City, State & Zip Code

On which line in Part 1 did you enter the creditor? _2.3

Last 4 digits of account number ___

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

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Best Case Bankruptcy

 
Case 8:19-bk-06187-CPM Doc7 Filed 07/12/19 Page 11 of 19

Filllin this information to identify your case:

 

Debtor 1 Dominik Szargut
First Name Middle Name a Last Name
Debtor 2
| (Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © MIDDLE DISTRICT OF FLORIDA

Casenumber §:19-bk-06187 a |
(if known) WB Check if this is an
Po amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

 

 

 

[ERG] Summarize Your Assets _

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
Ja. Copy line 55, Total real estate, from Schedule A/Boesesssssssssssssssssssssssssssssssssesseessssssssussossseseesesssssssseeescesssusensesse $ 150,000.00
ib. Copy line 62, Total personal property, from Schedule A/Bo uu. eee nicer snecnesenesnecisenasesessenseneeness $ 10,074.00_
1c. Copy line 63, Total of all property on Schedule A/B.....ccccsscsssesssssessesssssesaesesevenessssssssesivnstoesasssnenssenessnentarereesees $ 160,074.00

Summarize Your Liabilities

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 134,321.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F. uc cssseseseeessenen $ _ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F....... ce $ 19,511.36
|
Your total liabilities | $ 153,832.36

ish] Summarize Your Income and Expenses - _

4. Schedule I: Your Income (Official Form 106!)
Copy your combined monthly income from line 12 of Schedule loi. eect ce cs sscsesesesnscessreceseesesestesseneeesses $ 2,448.48

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22¢ Of SCH@CUE Joi.ccccsccccesssesssssssescesesseseresensenansrannesrscisisnsises $ 2,425.47

Answer These Questions for Administrative and Statistical Records -

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
C1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M@ Yes
7. What kind of debt do you have?

W Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Case 8:19-bk-06187-CPM Doc7 Filed 07/12/19 Page 12 of 19

Debtor1 Dominik Szargut Case number (if known) 8:19-bk-06187
|
8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form | 5 2.749.341
} i

4122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 74. _

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ _ _0.00—
9b, Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) S$ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ . 0,00
9g. Total. Add lines 9a through 9f. $ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Fillin'this information to identify your case:

 

 

 

 

| Debtor 1 Dominik Szargut
First Name Middie Name Last Name
Debtor 2 :
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © MIDDLE DISTRICT OF FLORIDA

 

\Case number 8:19-bk-06187
(if known) Ml Check if this is an

amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 4245

If you are an individual filing under chapter 7, you must fill out this form if:
i creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list

on the form

If two married people are filing together in ajoint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

[GERGAMY List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

 

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors Central Auto Brokers ll Surrender the property. Hl No
name. [1 Retain the property and redeem it.
. C1 Retain the property and enter into a U1 Yes
Description of 2006 Mercedes E350 125,000 Reaffirmation Agreement.
property miles CF Retain the property and [explain]:

securing debt: Debtor to surrender

Creditors Central Auto Brokers II Surrender the property. Mi No
name: C1] Retain the property and redeem it.

_ CZ Retain the property and enter into a 0 Yes
Description of 2005 Ford F-150 100,000 miles Reaffirmation Agreement.
property Debtor to surrender CZ Retain the property and [explain]:

securing debt:

 

Creditor's Mr. Cooper i Surrender the property. II No
name: 0 Retain the property and redeem it.

. CZ Retain the property and enter into a 0 Yes
Description of 1011-58th Ave.N. Saint Reaffirmation Agreement.

Petersburg, FL 33703 Pinellas

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

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Debtor 4 Dominik Szargut Case number (ifknown) 8:19-bk-06187
property County C1 Retain the property and [explain]:

securing debt: Property to be surrendered

 

List Your Unexpired Personal Property Leases

 

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: O No
Description of leased

Property: O1 Yes
Lessor's name: 0 No
Description of leased

Property: O Yes
Lessor's name: Ol No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: CO Yes
Lessor's name: O No
Description of leased

Property: O Yes

Sign Below

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal

property that is subject to an unexpired leasez

X /s/ Dominik Szargut
Dominik Szargut
Signature of Debtor 1

 

Date July 14,2019 Date

Official Form 108

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X
BYR “Signature of Debtor 2 -

 

Statement of Intention for Individuals Filing Under Chapter 7 page 2

Best Case Bankruptcy
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Fill in this information to identify your case:

Debtor 1 Dominik Szargut
First Name - Middle Name Last Name

 

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

 

 

 

Casenumber §8:19-bk-06187
(if known)

 

Hl Check if this is an

United States Bankruptcy Court forthe: | MIDDLE DISTRICT OF FLORIDA
amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

eae | Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

 

 

Bm No

1 Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X _/s/ Dominik Szargut Ze? x _
Dominik Szargut = - Signature of Debtor 2

Signature of Debtor 1

 

 

Date July 11, 2019 Date

 

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

In Re:

DOMINIK SZARGUT CHAPTER 7 BANKRUPTCY
CASE NO. 19-06187-CPM

Debtors,
/

 

CERTIFICATE OF SERVICE AS TO AMENDED
SCHEDULE A/B, AMENDED SUMMARY OF SCHEDULES
AND AMENDED DECLARATION OF DEBTOR’S SCHEDULES

|] HEREBY CERTIFY that a true copy of Amended Schedule A/B, along with Amended
Summary of Assets (Form 106Sum) and Amended Declaration of Debtor’s Schedules has been sent
via US Mail and /or using the Court’s CM/ECF system to the Chapter 7 Trustee, Carolyn Chaney
and Debtor, Dominik Szargut, 1011-58" Avenue N., St. Petersburg, Florida 33703 this 12" day of
July, 2019,

CERTIFICATE OF SERVICE AS TO AMENDED SCHEDULE C

| HEREBY FURTHER CERTIFY that a true copy of Amended Schedule C has been sent
via US Mail and /or using the Court’s CM/ECF system to the Chapter 7 Trustee, Carolyn Chaney,
Debtor, Dominik Szargut, 1011-58" Avenue N., St. Petersburg, Florida 33703 and to all creditors
on the attached mailing matrix, this 12" day of July, 2019.

CERTIFICATE OF SERVICE AS TO AMENDED
SCHEDULE D AND AMENDED STATEMENT OF INTENTION

I HEREBY CERTIFY that a true copy of the Amended Schedule D along with copy of the
Notice of Chapter 7 Bankruptcy Case, Meeting of Creditor’s, & Deadlines and Amended Statement
of Intention have been sent via US Mail and /or using the Court’s CM/ECF system to the Chapter
7 Trustee, Carolyn Chaney, and to Central Auto Brokers, 4065 54" Avenue N. St. Petersburg,

Florida 33714 this 12" day of July 2019,

LAW OFFICE OF COX & SANCHEZ

by_/s/ Stephany P. Sanchez _
Stephany P, Sanchez, Esquire

Florida Bar No: 732478

PO Box 40008

St. Petersburg, FL 33743
Telephone (727) 896-2691
Facsimile (727) 541-7900
Stephany@Coxsanchez.com
Attorney for Debtor
Case 8:19-bk-06187-CPM Doc? Filed 07/12/19

Label Matrix for local noticing
113A-8

Case 8:19-bk-06187-CPM

Middle District of Florida
Tampa

Thu Jul 11 16:15:23 EDT 2019

Afni

Attn: Bankruptey

Po Box 3097

Bloomington, IL 61702-3097

Convergent Outsourcing
PO Box 9004
Renton, WA 98057-9004

Credit Prot Assoc/Etan Industries
Attn: Bankruptcy

Po Box 802068

Dallas, TX 75380-2068

EOS CCA
PO Box 981025
Boston, MA 02298-1025

First Premier Bank
601 § Minnesota Ave
Sioux Falls, SD 57104-4868

Online Collections
Po Box 1489
Winterville, NC 28590-1489

Verizon

Attn: Wireless Bankrupty

500 Technology Dr Ste 500
Weldon Springs, MO 63304-2225

United States Trustes - TPA7/13 +
Timberlake Annex, Suite 1200

501 £ Polk Street

Tampa, FL 33602-3949

Note: Entries with a ‘+! at the end of the
Name have an email address on file in CMECF

Dominik Szargut
1011-58th Ave., N.
Saint Petersburg, FL 33703-1121

Central Auto Brokers
4065 54th Ave N
Saint Petersburg, FL 33714-2249

Credit Collection Services
P.O. Box 55126
Boston, MA 02205-5126

Deville Asset Manageme
1132 Glade Rd
Colleyville, TX 76034-4227

Eastern Account System INC
75 Glen Rd Ste 310
Sandy Hook, CT 06482-1175

Foremost Ins Group
P.O. Box 371329
Pittsburgh, PA 15250-7329

Plain Green Loans

93 Mack Road, Suite 600
Po Box 270

Box Elder, MT 59521-0270

Wells Fargo Bank

Po Box 10438

Macf$235-02f

Nes Moines, IA 50306-0438

Stephany P Sanchez +

Cox & Sanchez

BO Box 40008

St. Petersburg, Fl, 33743-0008

Page 17 of 19

VRMTG Asset Trust

c/o Howard Law Group

450 N. Park Road, Suite 800
Hollywood, FL 33021-6920

Choice Legal Group PA
P.0. Box 9908
Fort Lauderdale, FL 33310-0908

Credit Collections Services
Attention: Bankruptcy

725 Canton Street

Norwood, MA 02062-2679

Diversified Consultants, Inc.
Diversified Consultants, Inc.
Po Box 551268

Jacksonville, FL 32255-1268

Eastern Account System INC
P.O. Box 837
Newtown, CT 06470-0837

Mr. Cooper

Attn: Bankruptcy

8950 Cypress Waters Blvd
Coppell, TX 75019-4620

Spectrum
PO Box 31710
Tampa, FL 33631-3710

Carolyn R, Chaney +
PO Box 530248
St. Petersburg, FL 33747-0248

Matthew B Klein +

Howard Law Group

450 North Park Road, Penthouse 800
Hollywood, FL 33021-6920
 

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Debtor 14 Dominik Szargut Social Security number or ITIN = xxx-xx-0036
FirstName MiddleName Last Name EIN ee
Debtor 2 Social Security number or ITIN __
vats FirstName MiddleName Last Name
(Spouse, if filing) EIN _
United States Bankruptcy Court Middle District of Florida Date case filed for chapter 7 6/28/19

 

Case number: 8:19-bk-06187-CPM

 

Official Form 309A (For Individuals or Joint Debtors
Notice of Chapter 7 Bankruptcy Case ~~ No Proof of Claim Deadline 12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors’ property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document

filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file

with the court.

 

 

 

 

 

About Debtor 1: About Debtor 2:
1. Debtor's full name Dominik Szargut
2. All other names used in the
last 8 years
3. Address 1011-58th Ave., N.
Saint Petersburg, FL 33703
4. ' Stephany P Sanchez Contact phone 727-896-2691
Debtor's attorney Gos & Sanches
Name and address PO Box 40008 Email: stephany@coxsanchez.com
St. Petersburg, FL 33743
5, Carolyn R. Chaney Contact phone 727-864-9851
Bankruptcy Trustee BO Box 530248
Name and address St. Petersburg, FL 33747

 

 

 

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim

trustee pursuant to 11 USC § 701.
For more information, see page 2 >

Official Form 309A (For Individuals or Joint Deblors) Notice of Chapter 7 Bankruptcy Case -- No Proof of Claim Deadline page 1
 

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Case 8:19-bk-06187-CPM Doc4 Filed 07/02/19 Page 2 of 2

Debtor Dominik Szargut

Case number 8:19-bk-06187-CPM

 

6. Bankruptcy Clerk's Office

Documents in this case may be filed at this
address. You may inspect all records filed
in this case at this office or online at

Www. pacer gov.

Sam M. Gibbons United States Courthouse Hours open:
801 North Florida Avenue, Suite 555 Monday — Friday 8:30 AM -
Tampa, FL 33602 4:00PM

Contact phone 813-301-5162

Date: July 2, 2019

 

7. Meeting of creditors

Debtors must attend the meeting to be
questioned under oath. In a joint case,
both spouses must aitend. Creditors may
attend, but are not required to do so. You
are reminded that Local Rule 5073-1
restricts the entry of personal electronic
devices into the Courthouse.

August 1, 2019 at 01:00 PM Location:

The meeting may be continued or adjourned toa Room 100-C, 501 East Polk St.,
later date. If so, the date will be on the court (Timberlake Annex), Tampa, FL
docket. 33602

*** Debtor(s) must present Photo ID and acceptable
proof of Social Security Number at § 341 meeting. ***

 

8. Presumption of abuse

If the presumption of abuse arises, you
may have the right to file a motion to
dismiss the case under 11 U.S.C. §
707(b). Debtors may rebut the
presumption by showing special
circumstances.

9. Deadlines

The bankruptcy clerk's office must receive
these documents and any required filing
fee by the following deadlines.

The presumption of abuse does not arise.

File by the deadline to object to discharge or Filing deadline: September 30,
to challenge whether certain debts are 2019
dischargeable:

You must file a complaint:

+ if you assert that the debtor is not entitled to
receive a discharge of any debts under any of the
subdivisions of 11 U.S.C. § 727(a)(2) through (7),
or

+ if you want to have a debt excepted from discharge
under 11 U.S.C § 523(a)(2), (4), or (6).

You must file a motion:

* if you assert that the discharge should be denied
under § 727(a)(8) or (9).

 

Filing deadline: 30 days after the

Deadline to object to exemptions:
conclusion of the meeting of creditors

The law permits debtors to keep certain property as
exempt. If you believe that the law does not aulhorize an

exemption claimed, you may file an objection.

 

10. Proof of claim

Please do not file a proof of claim unless
you receive a notice to do so.

11. Creditors with a foreign address

No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
it later appears that assets are available to pay creditors, the clerk will send you another notice telling
you that you may file a proof of claim and stating the deadline.

If you are a creditor receiving a notice mailed to a foreign address, you may file a mation asking the court
to extend the deadlines in this notice. Consult an altorney familiar with United States bankruptcy law if
you have any questions about your rights in this case.

 

12. Exempt property

The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
the bankruptcy clerk's office or online at wanv.pacer.qov, If you believe that the law does not authorize an
exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive
the objection by the deadline to object to exemptions in line 9.

 

13. Voice Case Info. System
(McVCIS)

MeVCIS provides basic case information concerning deadlines such as case opening, discharge,
and closing dates, and whether a case has assets or not. McVCIS is accessible 24 hours a day
except during routine maintenance. To access McVCIS toll free call 1-866-222-8029.

 

 

 

Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case —- No Proof of Claim Deadline page 2
